                       IN THE SUPREME COURT OF THE STATE OF NEVADA


                ENTRY-MASTER, LLC,                                    No. 66563 ""
                                  Appellant,
                             vs.
                PARKING AND SECURITY SYSTEMS,
                LLC,
                                        Respondent.
                ENTRY-MASTER, LLC,                                    No. 67682
                                  Appellant,
                             vs.
                PARKING AND SECURITY SYSTEMS,
                LLC,
                                  Res s ondent.
                ENTRY-MASTER, LLC,                                    No. 69304
                                  Appellant,
                             vs.
                PARKING AND SECURITY SYSTEMS,
                LLC; AND ROBERT KATZ, RECEIVER,
                                                                         FILED
                                  Respondents.                           JAN 1 9 2016
                                                                        TRACE K. UNDEMAN
                                                                     CLE%0IBUPREME COURT
                                                 ORDER              BY
                                                                         DEPUTY CLERK

                            Docket No. 66563 is an appeal from district court orders
                entered September 19, 2014, granting declaratory judgment and ordering
                the dissolution of appellant and appointing a receiver. See NRAP 3A(b)(4).
                Docket No. 67682 is an appeal from the order awarding attorney fees and
                costs. These two appeals have been consolidated. Docket No. 69304 is an
                appeal from a subsequent district court order granting the receiver's
                motion to approve fees and costs and conclude the receivership.
                      The receiver has filed a stipulation to dismiss the appeals in all
                three dockets. Appellant challenges that stipulation with a "Motion to
                Strike or in the Alternative Opposition," objecting that the receiver
                himself cannot dismiss the appeals that challenge the validity of his own

SUPREME COURT
      OF
    NEVADA

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                appointment. The receiver and respondent Parking and Security Systems,
                LLC, have responded, and appellant has filed a reply.
                         Having considered these documents, we deny the motion to strike
                the stipulation in Docket Nos. 66563 and 67682. The stipulation of
                dismissal is approved to the following extent. These appeals are dismissed
                without prejudice.
                                We grant the motion to strike the stipulation in Docket No.
                69304, and this appeal shall continue. The clerk of this court shall strike
                the stipulation filed on December 14, 2015. We remind appellant that the
                opening brief and appendix remain due on or before April 6, 2016. 1
                                It is so ORDERED. 2




                                           Hardesty


                    Oda&amp;
                Saitta                                      Pickering
                                                                        pt            , J.




                     'In our resolution of the instant matters, we express no opinion as to
                the merits of the underlying orders that are the subject of these appeals.

                         2 We
                           deny appellant's motion to strike the notice of appearance of
                counsel for the receiver.


SUPREME COURT
        OF
     NEVADA


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                  cc:   Hon. Lidia Stiglich, District Judge
                        Kauffman and Forman, P.A.
                        Fox Rothschild, LLP, Las Vegas
                        Oshinski &amp; Forsberg, Ltd.
                        Pascale Stevens LLC
                        Parsons Behle &amp; Latimer/Reno
                        Washoe District Court Clerk




SUPREME COURT
        OF
     NEVADA


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